      Case 6:07-cv-01356-EFM-KMH Document 15 Filed 03/05/09 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


LINDA HAMILTON,                           )
                                          )
                            Plaintiff,    )
                                          ) Civil Action
vs.                                       ) Case No. 07-1356-MLB-DWB
                                          )
CORPORATE HILLS, LLC,                     )
                                          )
                        Defendant.        )
_________________________________         )

                 CONSENT DECREE APPROVING SETTLEMENT

       Now, on this 5th day of March, 2008, this matter comes on for hearing on the

application of the parties for approval of the Stipulation for Settlement. The Plaintiff

appears by Edward Zwilling of Schwartz Zweben & Slingbaum, LLP and Lawrence

Williamson; the Defendant appears by David P. Calvert of David P. Calvert, P.A. There

are no other appearances.

       The Court finds that the parties to this action have entered into a Settlement

Agreement and agree that the Court should retain jurisdiction over this case for

enforcement purposes only.

       IT IS THEREFORE ORDERED that the Court shall retain jurisdiction over this

case for enforcement purposes only.

       IT IS FURTHER ORDERED that subject to compliance by the parties with the

terms of the Settlement Agreement, the claims of the plaintiff are dismissed with

prejudice.

                                           s/ Monti Belot
                                          MONTE L. BELOT
                                          United States District Judge
